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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                 Case No.: 1:19-CR-00018-ABJ

UNITED STATES OF AMERICA,

               Plaintiff,

v.



ROGER J. STONE, JR.,

               Defendant.

______________________________

      DEFENSE MOTION FOR 7 DAY EXTENSION, UNTIL SEPTEMBER 6, 2019,
                  TO FILE JOINT PRETRIAL STATEMENT
                       (Government takes no position)

       Counsel for Roger Stone have been working assiduously to review the government’s joint

pretrial statement proposals regarding the statement of the case, proposed jury instructions,

verdict form and other materials. The defense respectfully request an extension until September

6, 2019, (the Joint Statement is due on August 30, 2019) in order to provide sufficient time to set

forth our agreements, disagreements, objections to the government’s proposals, and then confer

with the government to resolve any disagreements, or to provide the Court with the basis for our

position on any non-agreed matters.

       The Pretrial Conference is set for September 17, 2019. The requested extension need not

delay that date.

       Counsel for the government has been contacted regarding this request and states “The

government is ready to file the Joint Pretrial Statement on August 30. The government takes no

position on the defense’s request for additional time.”
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                                           Respectfully submitted,
                                           By: /s/_______________

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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 26, 2019, I electronically filed the foregoing with

the Clerk of Court using CM/ECF. I also certify that the foregoing is being served this day on all

counsel of record or pro se parties, via transmission of Notices of Electronic Filing generated by

CM/ECF.


                                              ___/s/Chandler P. Routman
                                                     Chandler Routman

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